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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of Texas
                                          (State)                                                                                  ☐ Check if this is an
Case number (if known):                                        Chapter     11                                                          amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                    06/22
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Regal Cinemas II, LLC



2. All other names debtor used
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer              2         7    -      1     9    2      3       3      2     3
   Identification Number (EIN)

4. Debtor’s address                    Principal place of business                                    Mailing address, if different from principal place
                                                                                                      of business
                                       101 E. Blount Avenue
                                       Number                Street                                   Number         Street


                                                                                                      P.O. Box
                                       Knoxville                          TN           37920
                                          City                            State       Zip Code        City                         State     Zip Code

                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                       Knox County
                                          County                                                      Number         Street




                                                                                                      City                         State     Zip Code




5. Debtor’s website (URL)                 https://www.cineworldplc.com/

6.   Type of debtor                    ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                       ☐ Partnership (excluding LLP)

                                       ☐ Other. Specify:




      Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor            Regal Cinemas II, LLC                                               Case number (if known)
           Name



                                            A. Check One:
7.   Describe debtor’s business
                                            ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                            ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                            ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                            ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                            ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                            ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            ☒ None of the above

                                            B. Check all that apply:
                                            ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                            ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                               § 80a-3)
                                            ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                            C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                               http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            512131 - Motion Picture Theaters (except Drive-Ins)

8. Under which chapter of the           Check One:
   Bankruptcy Code is the
   debtor filing?                       ☐ Chapter 7

                                        ☐ Chapter 9

      A debtor who is a “small          ☒ Chapter 11. Check all that apply:
      business debtor” must check
                                                 ☐      The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
      the first sub- box. A debtor as
      defined in § 1182(1) who                          noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
      elects to proceed under                           $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
      subchapter V of chapter 11                        operations, cash-flow statement, and federal income tax return or if any of these documents do
      (whether or not the debtor is                     not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      a “small business debtor”)                 ☐      The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
      must check the second sub-                        debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
      box                                               proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                        balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                 ☐      A plan is being filed with this petition.
                                                 ☐      Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                        accordance with 11 U.S.C. § 1126(b).
                                                 ☐      The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                        Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File
                                                        the Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                        (Official Form 201A) with this form.
                                                 ☐      The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                        ☐ Chapter 12

9. Were prior bankruptcy cases          ☒ No         District
   filed by or against the debtor       ☐ Yes.                                           When       MM/DD/YYYY    Case number
   within the last 8 years?
                                                     District                            When                     Case number
     If more than 2 cases, attach a                                                                 MM/DD/YYYY
     separate list.




     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 2
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    Debtor           Regal Cinemas II, LLC                                               Case number (if known)
              Name



    10. Are any bankruptcy cases           ☐ No
        pending or being filed by a        ☒ Yes.                                                                      Relationship    Affiliate
                                                        Debtor        See Rider 1
        business partner or an
        affiliate of the debtor?                        District      Southern District of Texas
       List all cases. If more than 1,                                                                                 When            09/07/2022
       attach a separate list.                        Case number, if known _______________________                                    MM / DD / YYYY

    11. Why is the case filed in this     Check all that apply:
        district?
                                          ☐    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                               immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                          ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have       ☒ No
        possession of any real            ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                    ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                          safety.
                                                          What is the hazard?

                                                    ☐     It needs to be physically secured or protected from the weather.

                                                    ☐      It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                           (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or
                                                           other options).
                                                    ☐     Other


                                                    Where is the property?
                                                                                            Number        Street



                                                                                            City                               State       Zip Code



                                                    Is the property insured?
                                                    ☐ No

                                                    ☐ Yes.         Insurance agency

                                                                   Contact name
                                                                   Phone




                      Statistical and administrative information

    13. Debtor's estimation of           Check one:
        available funds
                                         ☒ Funds will be available for distribution to unsecured creditors.
                                         ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of              ☐     1-49                         ☐       1,000-5,000                    ☐     25,001-50,000
        creditors1                       ☐     50-99                        ☐       5,001-10,000                   ☒     50,001-100,000
                                         ☐     100-199                      ☐       10,001-25,000                  ☐     More than 100,000
                                         ☐     200-999




1            The estimated number of creditors and estimated amounts of assets and liabilities are being listed on a consolidated basis for all Debtor
affiliates listed on Rider 1, attached hereto.

       Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor            Regal Cinemas II, LLC                                               Case number (if known)
          Name



15. Estimated assets                  ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                      ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☒    $1,000,000,001-$10 billion
                                      ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                      ☐       $500,001-$1 million        ☐     $100,000,001-$500 million              ☐    More than $50 billion

16. Estimated liabilities             ☐      $0-$50,000                   ☐    $1,000,001-$10 million                 ☐   $500,000,001-$1 billion
                                      ☐      $50,001-$100,000             ☐    $10,000,001-$50 million                ☐   $1,000,000,001-$10 billion
                                      ☐      $100,001-$500,000            ☐    $50,000,001-$100 million               ☒   $10,000,000,001-$50 billion
                                      ☐      $500,001-$1 million          ☐    $100,000,001-$500 million              ☐   More than $50 billion

                 Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of          petition.
    debtor
                                          I have been authorized to file this petition on behalf of the debtor.
                                          I have examined the information in this petition and have a reasonable belief that the information is true and
                                          correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on         09/07/2022
                                                               MM/ DD / YYYY


                                               /s/ James A. Mesterharm                                            James A. Mesterharm
                                               Signature of authorized representative of debtor                Printed name

                                               Title    Chief Restructuring Officer




18. Signature of attorney                     /s/ Matthew D. Cavenaugh                                        Date        09/07/2022
                                               Signature of attorney for debtor                                           MM/DD/YYYY



                                               Matthew D. Cavenaugh
                                               Printed name
                                               Jackson Walker LLP
                                               Firm name
                                               1401 McKinney Street, Suite 1900
                                               Number                 Street
                                               Houston                                                                Texas             77010
                                               City                                                                   State               ZIP Code

                                               (713) 752-4200                                                         mcavenaugh@jw.com
                                               Contact phone                                                             Email address
                                               24062656                                            Texas
                                               Bar number                                          State




   Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 4
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 Fill in this information to identify the case:
                                                                     ,
 United States Bankruptcy Court for the:
                      Southern District of Texas
                                     (State)                                                  ☐ Check if this is an
 Case number (if                                                                                  amended filing
 known):                                          Chapter   11



                                              Rider 1
               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in
the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of title 11
of the United States Code. The Debtors have moved for joint administration of these cases under the case
number assigned to the chapter 11 case of Cineworld Group plc.

Cineworld Group plc                                              Great Escape LLC
13th Avenue Partners, L.L.C.                                     Great Escape of Nitro, LLC
A 3 Theatres of San Antonio, Ltd.                                Great Escape of O'Fallon, LLC
A 3 Theatres of Texas, Inc.                                      Great Escape Theatres of Bowling Green, LLC
Augustus 1 Limited                                               Great Escape Theatres of Harrisburg, LLC
Augustus 2 Limited                                               Great Escape Theatres of Lebanon, LLC
Basildon Cinema 2 Limited                                        Great Escape Theatres of New Albany, LLC
Basildon Cinema Number Two 2 Limited                             Great Escape Theatres, LLC
Bromley Cinema 2 Limited                                         Hemel Hepstead Two Cinema 2 Limited
Busby AssignCo, LLC                                              Hollywood Theaters III, Inc.
Cinebarre, LLC                                                   Hollywood Theaters, Inc.
Cinemas Associates, LLC                                          Hoyts Cinemas Corporation
Cine-UK Limited                                                  Interstate Theatres Corporation
Cineworld Cinema Properties Limited                              Lois Business Development Corporation
Cineworld Cinemas Holdings Limited                               McIntosh Properties, LLC
Cineworld Cinemas Limited                                        Newcastle Cinema 2 Limited
Cineworld Elite Picture Theatre (Nottingham) Limited             Newman Online Limited
Cineworld Estates Limited                                        Next Generation Network, Inc.
Cineworld Funding (Jersey) Limited                               Oklahoma Warren Theatres II, LLC
Cineworld Holdings Limited                                       Oklahoma Warren Theatres, LLC
Cineworld HunCo Kft.                                             Pacific Rim Business Development Corporation
Cineworld South East Cinemas Limited                             Picturehouse Bookings Limited
City Screen (Brighton) Limited                                   Picturehouse Cinemas Limited
City Screen (Liverpool) Limited                                  Picturehouse Entertainment Limited
City Screen (S.O.A.) Limited                                     Poole Cinema 2 Limited
City Screen (Stratford) Limited                                  R.C. Cobb II, LLC
City Screen (York) Limited                                       R.C. Cobb, Inc.
Classic Cinemas Limited                                          Ragains Enterprises LLC
Consolidated Theatres Management, L.L.C.                         RCI/FSSC, LLC
Crown Finance US, Inc.                                           RCI/RMS, LLC
Crown Intermediate Holdco, Inc                                   Regal – 18, LLC
Crown Theatre Corporation                                        Regal Cinemas Corporation
Crown UK HoldCo Limited                                          Regal Cinemas Holdings, Inc.
CS (Brixton) Limited                                             Regal Cinemas II, LLC
CS (Exeter) Limited                                              Regal Cinemas, Inc.
CS (Norwich) Limited                                             Regal CineMedia Corporation
Eastgate Theatre, Inc.                                           Regal CineMedia Holdings, LLC
Edwards Theatres, Inc.                                           Regal Distribution Holdings, LLC
Empire Cinema 2 Limited                                          Regal Distribution, LLC
Frederick Plaza Cinema, Inc.                                     Regal Entertainment Group
Gallery Cinemas Limited                                          Regal Entertainment Holdings II LLC
Gallery Holdings Limited                                         Regal Entertainment Holdings, Inc.
Great Escape LaGrange LLC                                        Regal Gallery Place, LLC
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Regal Investment Company                   UA Swansea, LLC
Regal Licensing, LLC                       United Artists Properties I Corp.
Regal Stratford, Inc.                      United Artists Realty Company
Regal/ATOM Holdings, LLC                   United Artists Theatre Circuit II, LLC
Regal/Cinebarre Holdings, LLC              United Artists Theatre Circuit, Inc.
Regal/DCIP Holdings, LLC                   United Artists Theatre Company
RegalRealty - 17, LLC                      Valeene Cinemas, LLC
Richmond I Cinema, L.L.C.                  Wallace Theater Holdings, Inc.
The Movie Machine, L.L.C.                  Warren Oklahoma Theatres, Inc.
UA Shor, LLC




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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION

                                                        )
    In re:                                              )    Chapter 11
                                                        )
    REGAL CINEMAS II, LLC,                              )    Case No. 22-___________(___)
                                                        )
                             Debtor.                    )
                                                        )

                                       LIST OF EQUITY SECURITY HOLDERS2

                                                                                             Percentage of
                      Equity Holder                   Address of Equity Holder
                                                                                              Equity Held
                                                        101 E. Blount Avenue
             Regal Cinemas, Inc.                                                                 100%
                                                       Knoxville, TN 37920-1605




2      This list serves as the disclosure required to be made by the debtor pursuant to Rule 1007 of the Federal Rules
       of Bankruptcy Procedure. All equity positions listed indicate the record holder of such equity as of the date of
       commencement of the chapter 11 case.
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                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                     )
 In re:                                              )    Chapter 11
                                                     )
 REGAL CINEMAS II, LLC,                              )    Case No. 22-___________(___)
                                                     )
                         Debtor.                     )
                                                     )

                                      CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the following are
corporations, other than a government unit, that directly or indirectly own 10% or more of any class of the debtor’s
equity interest:

                   Shareholder                             Approximate Percentage of Shares Held
      Regal Cinemas, Inc.                                                 100%
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      Fill in this information to identify the case:

      Debtor name    Cineworld Group plc, et al.
      United States Bankruptcy Court for the: Southern               District of    Texas
                                                                                   (State)                                                        2Check if this is an
      Case number (If known):                                                                                                                     amended filing




    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the
    30 Largest Unsecured Claims and Are Not Insiders                       12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest
    unsecured claims.


     Name of Creditor and complete             Name, telephone number, and email             Nature of the   Indicate if     Amount of unsecured claim
     mailing address, including zip code       address of creditor contact                   claim (for      claim is        If the claim is fully unsecured, fill in only
                                                                                             example,        contingent,     unsecured claim amount. If claim is partially
                                                                                             trade debts,    unliquidated,   secured, fill in total claim amount and deduction
                                                                                             bank loans,     or disputed     for value of collateral or setoff to calculate
                                                                                             professional                    unsecured claim.
                                                                                             services, and
                                                                                             government
                                                                                             contracts)

                                                                                                                             Total claim, if   Deduction for   Unsecured
                                                                                                                             partially         value of        claim
                                                                                                                             secured           collateral or
                                                                                                                                               setoff

     AMAS Ltd. T/A Jones Lang Lasalle
     P.O. Box 55791, Docklands, London,
     England E14 7AE                    credit_management@standardlife.com
1                                                                                                Rent            N/A              N/A               N/A         $7,849,764
                                        aamcashiers@eu.jll.com
     Town Hall Market Place, Henley-on-
     Thames, England RG9 2AQ



     Arvest Bank                    Shandy Belford
2    1501 W Edmond Road, Edmond, OK (405) 419-3834                                            Bank Loans         N/A              N/A               N/A         $11,900,000
     73003                          sbelford@arvest.com




     Bidvest Noonan (UK) Ltd.
                                             44 844 225 1115
3    St Magnus House 3, Lower Thames                                                          Trade Debt         N/A              N/A               N/A         $3,214,557
                                             ar@bidvestnoonan.com
     Street, london, England EC3R 6HD




     BNY Melon                               Joanne Hume
4    160 Queen Victoria Street, London,      44 (0) 1202 689653                               Bank Loans         N/A              N/A               N/A        $213,000,000
     England EC4V 4LA                        Ian.Johnson@bnymellon.com




     Booker Limited                          Terry Riley
5    Equity House Irthlingborough Road,      accountsreceivable@booker.co.uk                  Trade Debt         N/A              N/A               N/A         $2,019,919
     Wellingborough, England NN8 1LT         creditcontrol@booker.co.uk
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Debtor Name: Cineworld Group plc, et al.                                             Case Number (if known): ____________________


     Christie Digital Systems Canada
                                           ARQueries-EMEA@christiedigital.com
     Inc. - USD
 6                                         cinema.orders.emea@christiedigital.co   Trade Debt     N/A          N/A          N/A     $1,891,918
     200 Ashville Way, Workingham,
                                           m
     England RG41 2PL



     Christie Digital Systems USA Inc.
                                           Paul Haupert
     RCM
 7                                         714-220-3561                            Trade Debt     N/A          N/A          N/A     $3,952,541
     10550 Camden Drive, Cypress, CA
                                           Paul.haupert@christiedigital.com
     90630




     Cinionic Inc                          Paul Hermans
 8   11080 White Rock Rd, Suite 100,       +32 495 36 22 02                        Trade Debt     N/A          N/A          N/A     $8,639,937
     Rancho Cordova, CA 95670              paul.hermans@cinionic.com




     CJ 4DPLEX
                                         82 371 5246
     6F I-Park Mall Hangang-daero 23-gil
 9                                       youngsoo.kim6@cj.net                      Construction   N/A          N/A          N/A     $1,669,668
     55, Yongsan-gu, Seoul, South Korea
                                         hc.ahn@cj.net
     04377




    CJ 4DPLEX Americas LLC               Don Savant
 10 7082 Hollywood Blvd., Suite 600, Los 213-378-2014                              Construction   N/A          N/A          N/A     $1,718,438
    Angeles, CA 90028                    Don.savant@cj.net




    IMAX Corporation                       Mark Welton
 11 2525 Speakman Drive, Mississauga,      905-403-6254                            Trade Debt     N/A          N/A          N/A     $8,881,917
    ON, Canada L5K1B                       MWelton@imax.com




    IMAX Theatres International Ltd.
                                           Will Carass
 12 2525 Speakman Drive, Mississauga,      WCarass@imax.com
                                                                                   Construction   N/A          N/A          N/A     $2,534,949
    ON, Canada L5K 1B1




    Intertrust Technologies Corporation
                                        General Counsel                            Settlement
 13 920 Stewart Drive, Suite 100,       jmcdow@intertrust.com                      Agreement
                                                                                                  N/A          N/A          N/A     $4,500,000
    Sunnyvale, CA 94085




    JP Morgan Chase
    P.O. Box 100486, 2710 Media Center
 14 Drive, Building #6, Suite 120, Los Paramount Theat. Dist. Rcpt.,               Trade Debt     N/A          N/A          N/A     $1,865,101
    Angeles, CA 90065




    Lionsgate Film Inc.                    Harvey Shapiro
 15 579 Fifth Avenue, 14th Floor, New      (212) 621-8224                          Trade Debt     CUD          N/A          N/A     $15,135,562
    York, NY 10017                         hshapiro@sargoy.com




    Maeve Contractors Ltd.
 16 Unit 1, 5 Eastfields Avenue, London,   info@maevecontractors.co.uk             Construction   N/A          N/A          N/A     $2,868,391
    England SW18 1FU


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Debtor Name: Cineworld Group plc, et al.                                         Case Number (if known): ____________________

                                           Lisa Glendinning
    MAPP Property Management
                                           0207 908 5643
    Limited
 17 180 Great Portland Street, London,     cashier@wearemapp.com                  Rent        N/A          N/A          N/A     $3,937,518
                                           lisa.glendinning@wearemapp.com
    England W1W 5QZ
                                           yazmin.griffiths@wearemapp.com



    McCarthy Tetrault LLP
    Box 48, Suite 5300, Toronto-Dominion 416-362-1812                          Professional
 18 Bank Tower, Toronto, ON, Canada                                                           N/A          N/A          N/A     $1,662,033
                                         TOR-AR@mccarthy.ca                      Services
    M5K 1E6




    Realty Income Corporation
 19 11995 El Camino Real, San Diego,       858-284-5000                           Rent        N/A          N/A          N/A     $5,000,000
    CA 92130




    Royal Paper Corporation -
                                        George Abiaad
    Purchasing
 20 10232 Palm Drive, Santa Fe Springs, 562-903-9030                           Trade Debt     N/A          N/A          N/A     $3,468,853
                                        GAbiaad@royalcorporation.com
    CA 90670




    Savills Commercial Ltd.
 21 12 Booth St., Manchester, England      managementtreasury@savills.com         Rent        N/A          N/A          N/A     $10,125,029
    M2 4AW


     Sony Pictures Releasing
                                           Jake Walker and Jon Stone
    The Brunel Building, 2 Canalside
                                           Jake_Walker@spe.sony.com
 22 Walk, London, England W2 1DG                                               Trade Debt     N/A          N/A          N/A     $3,269,023
                                           UK_Remittances@spe.sony.com
                                           Anneka_Ruparelia@spe.sony.com
     10202 W. Washington Blvd., Jimmy
     Stewart Bldg., Room 323D, Culver
     City, CA 90232
                                           Kerryann Leonard
     The Walt Disney Company Ltd.
                                           + 44 208 222 59 00
 23 The Walt Disney Company Pavilion       Kerryann.Leonard@disney.com         Trade Debt     N/A          N/A          N/A     $12,082,212
                                           DWSS.EMEA.UK.Collection@disney.co
    House, 31-32, Dublin, Ireland D02
                                           m



    Universal
                                      Universalpicturesukandeire.finance@nb
 24 Central Saint Giles St Giles High cuni.com
                                                                               Trade Debt     N/A          N/A          N/A     $20,461,774
    Street, London, England WC2H 8NU




                                           John Mizer
    Vistar Northern California
 25 P.O. Box 951080, Dallas, TX 75395      303-662-7135                        Trade Debt     N/A          N/A          N/A     $12,218,140
                                           John.Mizer@pfgc.com




    Walt Disney Studios Motion
    Pictures
 26 Bank of America Lockbox Sevices                                            Trade Debt     N/A          N/A          N/A     $1,983,947
    13497 Collections, Chicago, IL 60693



    Warner Bros Entertainment UK
                                           Alina Swierzewska
    Limited
 27 Warner House 98 Theobalds Road,        alina.swierzewska@warnerbros.com    Trade Debt     N/A          N/A          N/A     $5,649,945
                                           Liliana.Carata@warnerbros.com
    London, England WC1X 8WB

                                                                                                                                 page 3
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Debtor Name: Cineworld Group plc, et al.                                      Case Number (if known): ____________________


    Warner Bros Pictures Inc.
 28 3903 W Olive Avenue, Burbank, CA       Jennifer Amaya                   Trade Debt     N/A          N/A          N/A     $2,090,900
    91505




    Wilmington Trust                       Jay Campbell
 29 50 South Sixth Street, Suite 1290,     612 217 5676                     Bank Loans     N/A          N/A          N/A     $39,251,667
    Minneapolis, MN 55402                  JCAMPBELL3@WilmingtonTrust.com




    Workman LLP - Feltham
                                          1412258085
 30 4th Floor Minton Place, Station Road, swindon.cashiers@workman.co.uk      Rent         N/A          N/A          N/A     $4,307,214
    Swindon, England SN1 1DA




                                                                                                                              page 4
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    Fill in this information to identify the case and this filing:

   Debtor Name          Regal Cinemas II, LLC

   United States Bankruptcy Court for the:                Southern District of Texas
                                                                                                  (State)
   Case number (If known):


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.



             Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration List of Equity Security Holders and Corporate Ownership Statement
    I declare under penalty of perjury that the foregoing is true and correct.


     Executed on                       09/07/2022                                 /s/ James A. Mesterharm
                                       MM/ DD/YYYY                               Signature of individual signing on behalf of debtor
                                                                                 James A. Mesterharm
                                                                                 Printed name
                                                                                 Chief Restructuring Officer
                                                                                 Position or relationship to debtor

Official Form 202                          Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                       OMNIBUS RESOLUTIONS OF THE BOARD

                                                         September 6, 2022

             The board of managers, board of directors, sole member, managers, general partner, or managing
             member, as applicable (the “Board”) of each of the entities listed on Exhibit A hereto (collectively,
             the “Company”), having considered the filing of voluntary petitions for relief under the provisions
             of title 11 of the United States Code (the “Bankruptcy Code”) for the Company and, if applicable,
             local proceedings for the Company pursuant to applicable law and in accordance with the
             requirements of the Company’s governing documents (the “Restructuring Matters”), has reviewed
             and considered certain materials presented by the management of the Company and the Company’s
             advisors, including, but not limited to, materials regarding the liabilities and obligations of
             the Company, its liquidity, the strategic alternatives available to it, and the effect of the foregoing
             on the Company’s business, and has had adequate opportunity to consult such persons regarding
             the materials presented, obtain additional information, and fully consider each of the strategic
             alternatives available to the Company, and therefore be it RESOLVED THAT:

             1.      VOLUNTARY PETITIONS FOR RELIEF UNDER APPLICABLE
                     BANKRUPTCY LAW AND SEEKING NECESSARY RELIEF

                  A. In the judgment of the Board, it is desirable and in the best interest of the Company, its
                     interest holders, its creditors, and other parties in interest, that the Company file or cause
                     to be filed voluntary petitions for relief (the “Bankruptcy Petitions”) under the provisions
                     of the Bankruptcy Code in the United States Bankruptcy Court for the Southern District of
                     Texas or such other court of competent jurisdiction (the “Bankruptcy Court”) for
                     the Company and any of its subsidiaries, any applicable foreign ancillary proceedings for
                     the Company and, in accordance with the requirements of the Company’s governing
                     documents and applicable law, the Board hereby consents to, authorizes, and approves the
                     filing of the Bankruptcy Petitions and foreign ancillary proceedings, if any; and

                  B. The Chief Restructuring Officer, and any partner, director, manager, or other duly
                     appointed officer of the Company (collectively, the “Authorized Persons”) is hereby
                     authorized and appointed to act as signatory on behalf of the Company in respect of the
                     Restructuring Matters and/or any person to whom such Authorized Persons and/or officers
                     delegate such responsibilities is hereby authorized to execute (under the common seal of
                     the Company, if appropriate) and file on behalf of the Company and its subsidiaries all
                     petitions, schedules, lists, and other motions, papers, or documents, and to take any and all
                     actions they deem necessary or proper to obtain such relief, including, but not limited to,
                     any action necessary or proper to maintain the ordinary course operations of the Company
                     and/or any of its subsidiaries.

             2.      RETENTION OF PROFESSIONALS

                  A. Each of the Authorized Persons is hereby authorized, empowered, and directed to employ:
                     (i) the law firm of Kirkland & Ellis LLP as general bankruptcy counsel; (ii) the law firm
                     of Jackson Walker LLP as co-bankruptcy counsel; (iii) the law firm of Slaughter and May
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                     as U.K. counsel (iv) PJT Partners LP as investment banker; (v) AlixPartners, LLP as
                     financial and restructuring advisor; (vi) Kroll Restructuring Administration LLC as claims
                     and noticing agent; (vii) A&G Realty Partners, LLC as real estate advisor; (viii) Willkie
                     Farr & Gallagher LLP as counsel to the independent directors of Crown Finance US, Inc.
                     and its direct and indirect subsidiaries that are filing for chapter 11; (ix) Ashurst LLP as
                     U.K. counsel to the Board of Cineworld Group plc and (x) Kramer Levin Naftalis &
                     Frankel LLP as U.S. counsel to the Board of Cineworld Group plc; and (xi) any other legal
                     counsel, accountant, financial advisor, restructuring advisor, or other professional
                     the Authorized Persons deem necessary, appropriate, or advisable to retain; each to
                     represent and assist the Company in carrying out its duties and responsibilities and
                     exercising its rights under the Bankruptcy Code and any applicable law (including, but not
                     limited to, the law firms filing any pleadings or responses); and in connection therewith,
                     the Authorized Persons are hereby authorized, empowered, and directed, in accordance
                     with the terms and conditions hereof, to execute (under the common seal of the Company,
                     if appropriate) appropriate retention agreements, pay appropriate retainers, and to cause to
                     be filed appropriate applications for authority to retain such services; and

                  B. Each of the Authorized Persons is hereby authorized, empowered, and directed to execute
                     (under the common seal of the Company, if appropriate) and file all petitions, schedules,
                     motions, lists, applications, pleadings, and other papers, and to perform such further actions
                     and execute (under the common seal of the Company, if appropriate) such further
                     documentation that the Authorized Persons in their absolute discretion deem necessary,
                     appropriate, or desirable in accordance with these resolutions.

             3.      APPOINTMENT OF CHIEF RESTRUCTURING OFFICER

                  A. In accordance with their respective organizational documents, each Company hereby
                     creates the office of Chief Restructuring Officer at each Company. James A. Mesterharm
                     is hereby appointed to serve as the Chief Restructuring Officer of each Company until his
                     successor has been duly appointed or until his earlier resignation, removal from office, or
                     death. The Chief Restructuring Officer shall report to the Company’s Board and the special
                     committee of the Board, in coordination with the Chief Executive Officer, the Chief
                     Operations Officer, and the Chief Financial Officer.

             4.      CASH COLLATERAL, DEBTOR-IN-POSSESSION FINANCING, AND
                     ADEQUATE PROTECTION

                  A. In the judgment of the Board of each of the other entities listed on Exhibit A hereto:

                             I.      The Company will obtain benefits which are necessary and convenient to
                     the conduct, promotion, and attainment of the business and are therefore in the best
                     interests of the Company, from (x) the use of collateral, including cash collateral, as that
                     term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”), which is
                     security for certain prepetition secured lenders, including (i) the lenders party to that certain
                     credit agreement, dated as of February 28, 2018 and (ii) prior to repayment, the lenders
                     party to that certain credit agreement, dated as of November 23, 2020 and which will be,
                     following the entry into the DIP Financing, used to secure the superpriority secured

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                     debtor-in-possession credit agreement (the “DIP Credit Agreement”), to be dated on or
                     about September 6, 2022 (the “DIP Financing”); and (y) the incurrence of
                     debtor-in-possession financing obligations by entering into the DIP Credit Agreement; and
                     (z) the grant of security over all its assets in favor of certain prepetition secured lenders
                     party to the DIP Credit Agreement. As such, the transactions contemplated in connection
                     with the DIP Financing are hereby authorized and approved.

                             II.     In order to use and obtain the benefits of the DIP Financing and Cash
                     Collateral, and in accordance with section 363 of the Bankruptcy Code, the Company will
                     provide certain adequate protection to the secured parties (the “Adequate Protection
                     Obligations”), as documented in the proposed interim order of the Bankruptcy Court,
                     authorizing and approving on an interim basis, among other things, the DIP Financing and
                     the transactions contemplated by the DIP Credit Agreement (the “Interim DIP Order”) and
                     the final order of the Bankruptcy Court authorizing and approving on a final basis, among
                     other things, the DIP Financing and the transactions contemplated by the DIP Credit
                     Agreement in substantially the form of the Interim Order (the “Final DIP Order,” and
                     together with the Interim DIP Order, the “DIP Orders”) submitted for approval to the
                     Bankruptcy Court.

                             III.     In order to use and obtain the benefits of the DIP Financing and Cash
                     Collateral, the Company will also enter into such other agreements, certificates,
                     instruments, receipts, petitions, motions, or other papers or documents required to
                     consummate the transaction contemplated by the DIP Orders to which the Company is or
                     will be a party, including, but not limited to, any security and pledge agreement or guaranty
                     agreement (collectively with the DIP Credit Agreement, the “DIP Financing Documents”).

                              IV.     The Company will receive benefits from the DIP Documents (as defined
                     below) and it is desirable and in the best interests of the Company and all of its stakeholders
                     that the form, terms, and provisions of the DIP Financing Documents and the actions and
                     transactions contemplated thereby be, and hereby are, authorized, adopted, and approved
                     in all respects, and the Company is authorized to enter into the DIP Financing Documents,
                     subject to the approval of the DIP Financing Documents by the Bankruptcy Court.

                             V.      The Board has determined that it is necessary and in the best interests of the
                     Company and its stakeholders that the form, terms, and provisions of the DIP Orders, to
                     which the Company is or will be subject, and the actions and transactions contemplated
                     thereby be, and hereby are, authorized, adopted, and approved in all respects, and each of
                     the Authorized Persons of the Company be, and hereby are, authorized, directed, and
                     empowered, in the name of and on behalf of the Company, to take such actions and
                     negotiate or cause to be prepared and negotiated and to execute, deliver, perform, and cause
                     the performance of (i) the DIP Orders, (ii) the DIP Financing Documents and such other
                     agreements, certificates, instruments, fee letters, guaranties, notices, receipts, recordings,
                     filings, petitions, motions, and any and all other papers or documents to which the
                     Company is or will be a party, including, but not limited to, any security and pledge
                     agreements, any amendments to any DIP Financing Documents, and any further collateral
                     agreements or guaranty agreements, (iii) such other agreements, instruments, certificates,
                     notices, assignments, and documents as may be reasonably requested by the agent (the

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                     “DIP Agent”) under the DIP Financing, and (iv) such forms of account control agreements,
                     officer’s certificates, and compliance certificates as may be required by the DIP Financing
                     Documents (the documents described in clauses (i) through (iv) of this paragraph,
                     collectively, the “DIP Documents”), incur and pay, or cause to be paid, all fees and
                     expenses and engage such persons, in each case, in the form or substantially in the form
                     thereof submitted to the officers of the Company, with such changes, additions, and
                     modifications thereto as the officers of the Company executing the same shall approve in
                     their sole discretion, such approval to be conclusively evidenced by such officers’
                     execution and delivery thereof.

                             VI.     The Company, as debtor and debtor in possession under the Bankruptcy
                     Code be, and hereby is, authorized to incur the Adequate Protection Obligations and to
                     undertake any and all related transactions on substantially the same terms as contemplated
                     under the DIP Documents (collectively, the “DIP Transactions”), including the guaranty
                     of the obligations thereunder and the granting of liens on substantially all of its assets to
                     secure such obligations, in accordance with the terms of the DIP Order.

                             VII. The Authorized Persons of the Company be, and hereby are, authorized and
                     directed, and each of them acting alone hereby is authorized, directed, and empowered in
                     the name of, and on behalf of, the Company, as debtor and debtor in possession, to take
                     such actions as in their sole discretion is determined to be necessary, desirable, or
                     appropriate and to effectuate the DIP Documents and the DIP Transactions, including
                     delivery thereof.

                             VIII. Each of the Authorized Persons of the Company be, and hereby is,
                     authorized, directed, and empowered in the name of, and on behalf of, the Company to file
                     or to authorize the DIP Agent to file any Uniform Commercial Code (the “UCC”) financing
                     statements, any other equivalent filings, any intellectual property filings and recordation,
                     and any necessary assignments for security or other documents in the name of the Company
                     that the DIP Agent deems necessary or appropriate to perfect any lien or security interest
                     granted under the DIP Orders, including any such UCC financing statement containing a
                     generic description of collateral, such as “all assets,” “all property now or hereafter
                     acquired,” and other similar descriptions of like import, and to execute and deliver, and to
                     record or authorize the recording of, such mortgages and deeds of trust in respect of real
                     property of the Company and such other filings in respect of intellectual and other property
                     of the Company, in each case as the DIP Agent may reasonably request to perfect the
                     security interests of the DIP Agent under the DIP Orders.

                             IX.    Each of the Authorized Persons of the Company be, and hereby is,
                     authorized, directed, and empowered in the name of, and on behalf of, the Company to:
                     (a) prepare any amendments, waivers, consents, supplements, or other modifications under
                     or to the DIP Documents to which the Company is a party which shall in their sole
                     judgment be necessary, proper, or advisable to perform the Company’s obligations under
                     or in connection with the DIP Orders or any of the other DIP Documents and the
                     transactions contemplated therein and to carry out fully the intent of the foregoing
                     resolutions, and (b) execute and deliver such amendments, waivers, consents, supplements,
                     or other modifications under such agreements or documents, the execution and delivery

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                     thereof by such Authorized Person to be deemed conclusive evidence of the approval and
                     ratification thereof by such Authorized Person or that such Authorized Person deemed such
                     standard to be met.

                             X.      It is in the best interests of the Company and all of its stakeholders that each
                     of the Authorized Persons of the Company be, and hereby is, authorized, directed, and
                     empowered in the name of, and on behalf of, the Company to take all such further actions,
                     including, without limitation, to pay or approve the payment of all fees and expenses
                     payable in connection with the DIP Transactions and all fees and expenses incurred by or
                     on behalf of the Company in connection with the foregoing resolutions, in accordance with
                     the terms of the DIP Documents, which shall in their sole judgment be necessary, proper,
                     or advisable to perform the Company’s obligations under or in connection with the DIP
                     Orders or any of the other DIP Documents and the transactions contemplated therein and
                     to carry out fully the intent of the foregoing resolutions.

             5.      FURTHER ACTIONS AND PRIOR ACTIONS

                  A. The Board hereby authorizes any direct or indirect subsidiary of the Company or any entity
                     of which the Company or any subsidiary of such Company is the sole member, general
                     partner, or managing member, as applicable, to take each of the actions described in these
                     resolutions or any of the actions authorized in these resolutions, and none of the resolutions
                     contained herein, or action taken in furtherance hereto, shall have or cause an adverse effect
                     on any such subsidiary or the Company’s interest therein (including without limitation, any
                     automatic dissolution, divestiture, dissociation, or like event under applicable law);

                  B. In addition to the specific authorizations heretofore conferred upon the Authorized Persons,
                     the Authorized Persons, either individually or as otherwise required by the Company’s
                     governing documents and applicable law, are hereby authorized to execute (under the
                     common seal of the Company if appropriate), acknowledge, deliver, and file any and all
                     agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds,
                     and other documents on behalf of the Company relating to the Restructuring Matters;

                  C. Each of the Authorized Persons (and their designees and delegates) is hereby authorized
                     and empowered, in the name of and on behalf of the Company, to take or cause to be taken
                     any and all such other and further action, and to execute (under the common seal of
                     the Company, if appropriate), acknowledge, deliver, and file any and all such agreements,
                     certificates, instruments, and other documents and to pay all expenses, including but not
                     limited to filing fees, in each case as in such Authorized Person’s or Authorized Persons’
                     absolute discretion, shall be necessary, appropriate, or desirable in order to fully carry out
                     the intent and accomplish the purposes of the resolution adopted herein;

                  D. The Board has received sufficient notice of the actions and transactions relating to the
                     matters contemplated by the foregoing resolutions, as may be required by the governing
                     documents of the Company, or hereby waives any right to have received such notice;

                  E. All acts, actions, and transactions relating to the matters contemplated by the foregoing
                     resolutions done in the name of and on behalf of the Company, which acts would have been

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                     approved by the foregoing resolutions except that such acts were taken before the adoption
                     of these resolutions, are hereby in all respects approved, confirmed, and ratified as the true
                     acts and deeds of the Company with the same force and effect as if each such act,
                     transaction, agreement, or certificate had been specifically authorized in advance by
                     resolution of the Board; and

                 F. Any Authorized Person is hereby authorized to perform all other acts, deeds, and other
                    actions as the Company itself may perform, in accordance with its governing documents
                    and applicable law, howsoever arising in connection with the matters above, or in
                    furtherance of the intentions expressed in the foregoing resolutions, including, but not
                    limited to, the negotiation, finalization, execution (under common seal, whether or not
                    expressed to be a deed, as may be necessary or appropriate), and delivery of any other
                    agreements, certificates, instruments, powers of attorney, letters, forms, transfer, deeds,
                    and other documents whatsoever as the individual acting may in his/her absolute and
                    unfettered discretion approve, deem or determine necessary, appropriate or advisable, such
                    approval, deeming or determination to be conclusively evidenced by said individual taking
                    such action or the execution thereof.

                                                      [Signature pages follow]




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                    IN WITNESS WHEREOF, the undersigned have executed this consent as of the date first
             above written.

                                                                      A3 Theatres of Texas, Inc.
                                                                      Consolidated Theatres Management, L.L.C.
                                                                      Crown Theatre Corporation
                                                                      Frederick Plaza Cinema, Inc.
                                                                      Hollywood Theatres III, Inc.
                                                                      Lois Business Development Corporation
                                                                      Next Generation Network, Inc.
                                                                      Pacific Rim Business Development
                                                                      Corporation
                                                                      RCI/FSSC, LLC
                                                                      Regal Cinemas Corporation
                                                                      Regal Cinemas Holdings, Inc.
                                                                      Regal Cinemedia Corporation, on behalf of
                                                                      itself and as sole member of
                                                                             Regal Cinemedia Holdings, LLC, on
                                                                             behalf of itself and as sole member of
                                                                                     Regal/Atom Holdings, LLC
                                                                      Regal Distribution, LLC, on behalf of itself and
                                                                      as sole member of
                                                                             Regal Distribution Holdings, LLC
                                                                      Regal Entertainment Group, on behalf of itself
                                                                      and as sole member of
                                                                             Regal Entertainment Holdings II LLC
                                                                      Regal Entertainment Holdings, Inc.
                                                                      Regal Investment Company
                                                                      Regal Stratford, Inc.
                                                                      UA Swansea, LLC
                                                                      United Artists Realty Company, on behalf of
                                                                      itself and as sole stockholder of
                                                                             United Artists Properties I Corp.
                                                                      Wallace Theater Holdings, Inc.

                                                                      By: _____________________________________
                                                                      Name: Gary Begeman
                                                                      Title: Director

                                                                      By: _____________________________________
                                                                      Name: Nisan Cohen
                                                                      Title: Director

                                                                      By: _____________________________________
                                                                      Name: John Dionne
                                                                      Title: Director



                                                 [Signature Page to [Omnibus] Filing Resolutions]
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                                                                     By: _____________________________________
                                                                     Name: Matthew Neil Eyre
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: Michael Leffell
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: Tal Soudry
                                                                     Title: Senior Vice President

                                                                     Hollywood Theaters, Inc.
                                                                     Hoyts Cinemas Corporation, on behalf of itself
                                                                     and as sole stockholder of
                                                                           Interstate Theatres Corporation
                                                                     R.C. Cobb, Inc.
                                                                     R.C. Cobb II, LLC
                                                                     RCI/RMS, LLC
                                                                     Regal Cinemas II, LLC
                                                                     Edwards Theatres, Inc.
                                                                     Regal Gallery Place, LLC
                                                                     Regal Licensing, LLC
                                                                     Richmond I Cinema, L.L.C.
                                                                     Warren Oklahoma Theatres, Inc.
                                                                     Regal Cinemas, Inc., on behalf of itself and as
                                                                     (a) sole member of
                                                                           13th Avenue Partners, L.L.C.,
                                                                           Cinemas Associates, LLC,
                                                                           Mcintosh Properties, LLC,
                                                                           Regalrealty – 17, LLC,
                                                                           Regal – 18, LLC,
                                                                           Oklahoma Warren Theatres, LLC, on
                                                                           behalf of itself and as sole member of
                                                                                    Oklahoma Warren Theatres II,
                                                                                    LLC,
                                                                           Regal/Cinebarre Holdings, LLC, on behalf
                                                                           of itself and as sole member of
                                                                                    Cinebarre, LLC,
                                                                           Regal/DCIP Holdings, LLC,
                                                                           The Movie Machine, L.L.C., and
                                                                           Ragains Enterprises, LLC, on behalf of
                                                                           itself and as sole member of
                                                                                    Great Escape LaGrange LLC,
                                                                                    Great Escape LLC,
                                                                                    Great Escape of Nitro, LLC,
                                                                                    Great Escape of O’Fallon, LLC,

                                                 [Signature Page to Omnibus Filing Resolutions]
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                                                                                  Great Escape Theatres of Bowling
                                                                                  Green, LLC,
                                                                                  Great Escape Theatres of
                                                                                  Harrisburg, LLC,
                                                                                  Great Escape Theatres of
                                                                                  Lebanon, LLC,
                                                                                  Great Escape Theatres of New
                                                                                  Albany, LLC,
                                                                                  Great Escape Theatres, LLC, and
                                                                                  Valeene Cinemas, LLC; and
                                                                  (b) as general partner of
                                                                           A3 Theatres of San Antonio, Ltd.
                                                                  Eastgate Theatre, Inc.
                                                                  United Artists Theatre Circuit, Inc., on behalf of
                                                                  itself and as sole member of
                                                                           UA Shor, LLC and
                                                                           United Artists Theatre Circuit II, LLC

                                                                     By: _____________________________________
                                                                     Name: Gary Begeman
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: John Dionne
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: Matthew Neil Eyre
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: Michael Leffell
                                                                     Title: Director




                                                 [Signature Page to Omnibus Filing Resolutions]
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                                                                     Crown Finance US, Inc., on behalf of itself and
                                                                     as sole member of
                                                                           Busby AssignCo, LLC
                                                                     Crown Intermediate Holdco, Inc.
                                                                     United Artists Theatre Company

                                                                     By: _____________________________________
                                                                     Name: Gary Begeman
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: Nisan Cohen
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: John Dionne
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: Matthew Neil Eyre
                                                                     Title: Director

                                                                     By: _____________________________________
                                                                     Name: Michael Leffell
                                                                     Title: Director




                                                 [Signature Page to Omnibus Filing Resolutions]
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                                                               Exhibit A

                                                             Filing Entities
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1. 13th Avenue Partners, L.L.C.

2. A 3 Theatres of San Antonio, Ltd.

3. A 3 Theatres of Texas, Inc.

4. Cinebarre, LLC

5. Cinemas Associates, LLC

6. Consolidated Theatres Management, L.L.C.

7. Crown Theatre Corporation

8. Eastgate Theatre, Inc.

9. Frederick Plaza Cinema, Inc.

10. Great Escape LaGrange LLC

11. Great Escape LLC

12. Great Escape of Nitro, LLC

13. Great Escape of O’Fallon, LLC

14. Great Escape Theatres of Bowling Green, LLC

15. Great Escape Theatres of Harrisburg, LLC

16. Great Escape Theatres of Lebanon, LLC

17. Great Escape Theatres of New Albany, LLC

18. Great Escape Theatres, LLC

19. Hollywood Theatres III, Inc.

20. Hollywood Theaters, Inc.

21. Hoyts Cinemas Corporation

22. Interstate Theatres Corporation

23. Lois Business Development Corporation

24. Mcintosh Properties, LLC

25. Next Generation Network, Inc.
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26. Oklahoma Warren Theatres II, LLC

27. Oklahoma Warren Theatres, LLC

28. Pacific Rim Business Development Corporation

29. R.C. Cobb II, LLC

30. R.C. Cobb, Inc.

31. Ragains Enterprises LLC

32. RCI/FSSC, LLC

33. RCI/RMS, LLC

34. Regal Cinemas Corporation

35. Regal Cinemas Holdings, Inc.

36. Regal Cinemas II, LLC

37. Regal Cinemas, Inc.

38. Regal Cinemedia Corporation

39. Edwards Theatres, Inc.

40. Regal Cinemedia Holdings, LLC

41. Regal Distribution Holdings, LLC

42. Regal Distribution, LLC

43. Regal Entertainment Group

44. Regal Entertainment Holdings II LLC

45. Regal Entertainment Holdings, Inc.

46. Regal Gallery Place, LLC

47. Regal Investment Company

48. Regal Licensing, LLC

49. Regal Stratford, Inc.

50. Regal/Atom Holdings, LLC


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51. Regal/Cinebarre Holdings, LLC

52. Regal/DCIP Holdings, LLC

53. Richmond I Cinema, L.L.C.

54. The Movie Machine, L.L.C.

55. UA Shor, LLC

56. UA Swansea. LLC

57. United Artists Properties I Corp.

58. United Artists Realty Company

59. United Artists Theatre Circuit II, LLC

60. United Artists Theatre Circuit, Inc.

61. United Artists Theatre Company

62. Valeene Cinemas, LLC

63. Wallace Theater Holdings, Inc.

64. Warren Oklahoma Theatres, Inc..

65. Crown Finance US, Inc.

66. Crown Intermediate Holdco, Inc.

67. Busby AssignCo, LLC

68. RegalRealty – 17, LLC

69. Regal – 18, LLC




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